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     [Additional counsel listed on the next page]
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12
                                 UNITED STATES DISTRICT COURT
13
                                NORTHERN DISTRICT OF CALIFORNIA
14
                                     SAN FRANCISCO DIVISION
15
     UNITED STATES OF AMERICA,                  CASE NO.: 20-cr-00249-RS
16
                   Plaintiff,
17                                              NOTICE OF MOTION AND MOTION TO
           vs.                                  WITHDRAW AS COUNSEL FOR
18                                              DEFENDANT ROWLAND MARCUS
     ROWLAND MARCUS ANDRADE,                    ANDRADE; [PROPOSED] ORDER
19                                              GRANTING MOTION TO WITHDRAW
                   Defendants.
20                                              Date: July 20, 2021
                                                Time: 2:30 p.m. PDT
21                                              Judge: The Hon. Richard Seeborg

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     NOTICE OF MOTION AND MOTION TO
     WITHDRAW AS COUNSEL FOR DEFENDANT ANDRADE                    CASE NO. 20-CR-0249-RS
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 1          PLEASE TAKE NOTICE THAT at 2:30 p.m. PDT on Tuesday, July 20, 2021, or as

 2   soon thereafter as counsel may be heard before the Honorable Richard Seeborg, United States

 3   District Judge of the United States District Court for the Northern District of California, San

 4   Francisco Division, 450 Golden Gate Avenue, San Francisco, Katherine D. Cooper, Lionel

 5   André of Murphy & McGonigle, PC, and Mauricio S. Beugelmans of Murphy & McGonigle,

 6   RLLP, shall and hereby do respectfully seek leave of this Court, pursuant to Local R. 11-5(a),

 7   Crim. Local R. 44-2(b), and in compliance with Cal. R. Prof. Conduct Rule 1.16(b), to withdraw

 8   as counsel for Defendant Rowland Marcus Andrade.

 9

10          MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANT ANDRADE

11          Pursuant to the Northern District of California’s Criminal Local Rule 44-2(b), Katherine

12   D. Cooper and Lionel André of Murphy & McGonigle, PC, and Mauricio S. Beugelmans of

13   Murphy & McGonigle, RLLP (“Movants”) hereby notify the Government and the Court of their

14   intent to withdraw as counsel for defendant Rowland Marcus Andrade.

15          Movants state the following grounds for this notice and motion:

16          1. Movant Mauricio S. Beugelmans of Murphy & McGonigle, RLLP, filed his notice of

17   appearance in the instant matter on December 22, 2020.

18          2. This Court granted Movants Cooper and André leave to appear pro hac vice in this

19   action pursuant to its December 22, 2020, Order.
20          3. Movants have represented DEFENDANT Andrade since November 2020, in

21   connection with the instant criminal matter by joining his criminal defense team, headed by

22   Manny Medrano.

23          4. Movants seek leave to withdraw their representation of Defendant Andrade for

24   professional considerations under Cal. R. Prof. Conduct Rule 1.16(b). In light of their duty of

25   confidentiality under Cal. R. Prof. Conduct Rule 1.6, Movants decline to provide additional

26   details regarding their basis for withdrawing pursuant to Cal. R. Prof. Conduct Rule 1.16(b).
27   Given Rule 1.6, any further detail should only be shared with the Court in camera.

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     NOTICE OF MOTION AND MOTION TO WITHDRAW CASE NO. 20-CR-0249-RS
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 1          5. Movants’ withdrawal will not cause any prejudice to Defendant Andrade or delay in

 2   this matter because Defendant Andrade’s original defense attorneys, Manny Medrano and Brian

 3   Beck, will remain attorneys of record for Defendant Andrade. In addition, because Defendant

 4   Andrade is not currently detained upon information and belief, it is unlikely that a trial date in

 5   this matter will be set to commence before 2022.

 6          6. Given the insubstantial nature of this Motion, as well as the substantial burden to all

 7   parties in travelling and attending a hearing on this Motion, Movants respectfully request that the

 8   Court waive oral argument.

 9                                           CONCLUSION

10          For the foregoing reasons, Movants respectfully request that this Court waive oral

11   argument on this Motion, grant them leave to withdraw as counsels in the above-captioned

12   matter, and enter an order stating that Movants have so withdrawn.

13

14   Date: July 15, 2021                                 Respectfully submitted,

15                                                       /s/ Katherine D. Cooper
                                                         KATHERINE D. COOPER
16                                                       LIONEL ANDRÉ
                                                         Murphy & McGonigle, P.C.
17
                                                         MAURICIO S. BEUGELMANS
18                                                       Murphy & McGonigle, RLLP
                                                         Attorneys for Defendant Rowland Marcus
19                                                       Andrade
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 3                                        PROOF OF SERVICE

 4          The undersigned certifies that, on July 15, 2021, she caused this document to be

 5   electronically filed with the Clerk of Court using the CM/ECF system, which will send

 6   notification of filing to counsel of record for each party. In addition, she emailed a copy of this

 7   document to be emailed to Defendant, Rowland Marcus Andrade, at his last known email

 8   address.

 9                                                 /s/ Katherine D. Cooper
                                                   Katherine D. Cooper
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17                                              [PROPOSED] ORDER GRANTING
           vs.                                  MOTION TO WITHDRAW AS
18                                              COUNSEL FOR DEFENDANT
     ROWLAND MARCUS ANDRADE,                    ROWLAND MARCUS ANDRADE
19
                   Defendants.                  Date: July 20, 2021
20                                              Time: 2:30 p.m. PDT
                                                Judge: The Hon. Richard Seeborg
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15          Attorneys for Defendant Rowland Marcus Andrade Katherine D. Cooper, Lionel André,
16   and Mauricio S. Beugelmans (“Movants”) seek to withdraw as counsel for defendant Rowland
17   Marcus Andrade in the above-captioned matter pursuant to Northern District of California’s
18   Criminal Local Rule 44-2(b). As this Court finds that Katherine D. Cooper, Lionel André and
19   Mauricio S. Beugelmans have submitted sufficient grounds for withdrawal, and that the granting
20   of their Motion will not cause substantial prejudice or delay to Rowland Marcus Andrade, IT IS
21   HEREBY ORDERED that the Motion filed by Movants Katherine D. Cooper, Lionel André and
22   Mauricio S. Beugelmans to withdraw as counsel for defendant Rowland Marcus Andrade is
23   GRANTED, and Katherine D. Cooper, Lionel André, and Mauricio S. Beugelmans are hereby
24   terminated as counsel in this proceeding.
25   DATED: __________________             By: ____________________________
                                                Hon. Richard Seeborg
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     NOTICE OF MOTION AND MOTION TO WITHDRAW CASE NO. 20-CR-0249-RS
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